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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

  L&M COMPANIES, INC.,

         L&M,
                                                        Case no. 2015-cv-81006
  v.                                                    Judge: Robin Rosenberg
                                                        Mag. Judge: Dave Lee Brannon
  MICHAEL J. NAVILIO,

        Navilio.
  ___________________________________/

                                       MOTION TO DISMISS

         Through his undersigned counsel, Michael J. Navilio moves for this action to be

  dismissed, and in support thereof he states:

         1.      The issues in this case have already been addressed in Uesugi Farms, Inc., et. al.

  v. Michael J Navilio & Son, Inc., et al., which was filed in the United States District Court for

  the Northern District of Illinois and assigned case number 15-cv-1724, Hon. John Darrah

  presiding. The Illinois case predates the instant case before this court.

         2.      The Illinois case alleges PACA violations against Michael J Navilio & Son, Inc.

  (“the company”), Mr. Navilio, and the current officers of the company. A number of PACA

  creditors were, as a matter of course, allowed to intervene, as the PACA trust is a non-segregated

  floating trust and thus requires a pro rata distribution of PACA trust funds to PACA trust

  creditors (beneficiaries) from a delinquent company. L&M Companies, Inc. (“L&M”) has thus

  far chosen not to intervene in that case.

         3.      Mr. Navilio, was also a defendant in the Illinois case, under the theory that he was

  personally liable to PACA creditors. While persons in a position to control the PACA trust may

  be held personally liable for a breach of the trust, Mr. Navilio put the facts set forth below before
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  the Illinois court, and moved for both summary judgment and dismissal.        Upon consideration,

  the Illinois court dismissed Mr. Navilio from the action.

         4.      L&M is well aware of that action, and before filing suit here, L&M’s attorney

  referenced it in correspondence to Mr. Ordower, one of Mr. Navilio’s attorneys.

         5.      Instead of joining in the ongoing action in Illinois, where L&M’s claims might be

  satisfied, L&M chose to file suit here, on the apparent hope that Mr. Navilio’s current homestead

  was purchased with PACA funds.

         6.      Moderate investigation (simply reading the filings in the Illinois case) would have

  shown that Mr. Navilio, when he retired and sold all of his stock in the company, paid $200,000

  to the company expressly for the purpose of it satisfying its PACA obligations.            Further

  investigation would have showed that while Mr. Navilio did purchase a property in 2014, he had

  previously sold a more expensive property (which funded the purchase of his new homestead.)

         7.      Mr. Navilio is approaching his 94th birthday, is in ill-health, and has retired from

  the produce industry. Any subsequent mismanagement of the company he successfully ran for

  45 years is not to be laid at his door. This suit has caused him considerable distress and borders

  on harassment and forum shopping.

         8.      Attached are the documents Mr. Navilio submitted to the Illinois court, showing

  he divested himself of any control of the company before L&M’s debts arose and left the

  company with the PACA trust fully funded. These documents are: his resignation from the

  company (“Exhibit A”); the Amendment to Stock Purchase Agreement setting forth the terms of

  the transaction (“Exhibit B”); the Assignment of the Shares of Stock (“Exhibit C”); a page of the

  tax return he filed, reporting a disposition of all of the shares of the company during the year

  2013 (“Exhibit D”); and his Affidavit attesting to the same (“Exhibit E”).

         WHEREFORE, Michael Navilio respectfully requests this matter be dismissed.
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                                        Certificate of Service

        I hereby certify having served a copy of this motion by CM/ECF on November 5, 2015

  to: Robert Goldman, Esq., at Robert@goldmanlaw.com

                                               A Joseph Stern, P.A.,
                                               Counsel for Michael Navilio

                                               By: /s/ Joe Stern
                                               Joseph Stern, Esq., Fla. Bar no. 30902
                                               1911 NW 150th Ave., #203
                                               Pembroke Pines, Florida 33028
                                               Telephone: (954) 556-4822
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        NAVILIO/PACA/L&Manswer-110415
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                  p*g* *f my tax return showlng that sale is attached hereto as Fxhlblt 4 {end waa
                  €tt**hed a* Exhlhlt 4 to the Anewer filed on rny bahalf in this matte*.

                            1$. Afier my reslgnation, I did not participate in rnansg€iltent of the eornBany
                  and i did not eign eny *orporatu reporta to the $eeretary of $tate sJ lllintis,

                            '1$"I have sinre leerned fr*l gn snnuel rcport wa$ *pFar*ntly fil*# eft*r *:y
                  r"*clgn*ii*n nramlng rn6 a$ the president and Dean Kenrrelly as seu€tery *f th*
                  **rp*rallcn. Tfrat rcport wae nol signed nor arilhodz€d by ne. ! had nasign*d as
                  prc*ld*nt, and Sean Kannally wae discharged frorn amployment in 20X3, abcut & yeg{
                  prior ts my r*eignatlan End v,rbe no lsnger sbcretary ol the mrpor*tlan. Tha Secretery *f
                  $t*t* slso shows rny addreee at 111 E. ehestnut, Unlt 50A, Chieggo, whare E *avs *Et
                  livwi f*i' m6ny years. lt is my recnllection thet fre prncedura by th* Seeroary af S*st*
                  *f lliineis i* ic send an enflual repon forrn eontaintng thc lnfonfistion prcvJdsd to the
                  S**r'etery sf $tat€ for the prior year and that Juat nignlng tfte fprrn by eny rfft**r eitd
                  p*ying tF:e requi*ite f*e cauees the Secretary of Stab to ehCIar thp sEme infcrmatian **
                  lis w*b*lie *s i#a$ done the prior year. I belierre that thlg filing wea insdvertent-

                           I d*clare under penelty of Serjury undor the laue of ther State cf Flqriric and
                  lllinsle and ti:e Ultited StatEs of Funerica ttrat the foregoing is irue and €onsct.

                            Exdcutsd *n,u             lC*y           of March, ?s15 in Eoca Reton, Fla$da"




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                         IN THE UNITED STATES DISTRICT .o.J*,
                        FoR THE NoRTHERN DrsrRrcr or nlrivors
                                   EASTERN DIVISION

    UESUGI FARMS, INC., et      al.             I
    Plaintiff,
                                                I
    il,"nou"    J. NAVILTo & soN. rNC..     an I aur.   No. t5-1724
    nrinois corporation, etal.
                                                I il:::r"u#,ffil*""
    Defendants.
                                                I
              SUPPLEMENT TO MOTION FOR SUMMARY UUDGMENT

  Defendant MICHAEL J. NAVILIO by and through his a         Mark R. Ordower PC
  hereby supplements his Motion for Summary Judgement by th follow statement from
  attorney Mark Ordower:

         1.   After filing and presenting the said motion,      I             copies of Annual
              Reports for the fiscal years 2013 and 2014 for        M       I J. Navilio & Son,
               lnc.("Company") certified by the Secretary of State of    llinois, copies of which
              are attached as Exhibit A.
         2.   The 2013 report is dated January 2,2014 and sh                 James Navilio as
              president and Patricia Navilio as Secretary and Di         tor. lt does not show
              Michael J. Navilio as an officer or director. The 2014     eport shows the same
              officers and Thomas Kolouris as director, but d             not show Michael J.
              Navilio as officer or director.
         3.   I called the Secretary of State to ask that their websi    be corrected and was
              informed that the annual report must say "ame               D
                                                                            or the prior year
              information is carried forward.
         4.   The Motion For Summary Judgement is based on               e fact that Michael   J.
              Navilio resigned as officer and director and sold             his shares    of the
              Company in 2013. The above statement supports the             on.

         WHEREFORE, Defendant Michael J Navilio asks that j              ment be entered in his
  favor and that he be dismissed from this proceeding.

  Dated: April 1.2015                 MICHAEL J. NAVILIO

                                            By:s/iv[sk R.
                                                    One of its attomey
                                                    Mark R. Ordower,
                                                    Attorney for Mi         Navilio
                                                    333 S. Desplaines,
                                                    Chicago, Illinois
                                                    (312) 441-0620
                                                    n
